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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     LUBBOCK DIVISION

IN RE:                                                  §        Case No. 18-50214-rlj-11
                                                        §
REAGOR-DYKES MOTORS, LP, et al.1
                                                        §        Jointly Administered
                             Debtor.                    §
                                                        §


                        AMENDED JOINT MOTION TO APPROVE STIPULATION

         Comes now Debtor Reagor-Dykes Snyder, L.P. (“Debtor” or “Snyder”), General

Motors, LLC (“GM LLC”), and AmeriCredit Financial Services, Inc. d/b/a GM Financial

(“GM Financial” and collectively with Debtor and GM LLC, the “Parties”) make and file this

Amended Joint Motion to Approve Stipulation (the “Joint Motion”) for entry of an order

approving the Parties’ stipulation substantially in the form attached hereto as Exhibit A (the

“Proposed Order”), and would show as follows;

         1.        This Court has jurisdiction over this matter pursuant to 28 USC section 1334.

This matter is a core proceeding pursuant to 28 USC 157(b)(2)(A) and (O).


1
  The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216),
Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218),
Reagor-Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes Snyder, L.P. (Case No. 18-50321), Reagor-Dykes
III LLC (Case No. 18-50322), Reagor-Dykes II LLC (Case No. 18-50323), Reagor Auto Mall Ltd. (Case No. 18-
50324) and Reagor-Dykes Auto Mall I LLC (Case No. 18-50325).

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         2.        Debtor operated a car dealership in Snyder, Texas. GM LLC manufactures and

sells vehicles. GM Financial, an affiliate of GM LLC, provides financing for dealerships and

consumers.

         3.        When the Debtor made vehicle sales, it earned factory incentives payable by GM

LLC. There is a process under the Dealer Sales and Service Agreement with GM LLC for truing

up accounts between the dealership and GM LLC.

         4.        In this case, GM LLC believes that it has terminated the Dealer Sales and Service

Agreement. The Debtor disputes the effectiveness of the termination and reserves its rights.

         5.        Nonetheless, on or about April 29, 2019, GM LLC sent a notice letter to the

Debtor regarding the termination of Snyder. That letter indicated that, after audits had been

performed by GM LLC, GM LLC owes Debtor Snyder $704,862.31 related to factory incentives.

There are offsetting claims related to GM LLC overpayments to Snyder that total $58,094.03,

leaving a balance of $646,768.28. GM LLC was permitted to offset the $58, 094.03 by a prior

lift-stay order entered at Docket 495.

         6.        GM Financial provided floorplan financing to Snyder and has filed a claim in the

Debtor’s case for $14,494,738.26. GM Financial’s motion for relief from the stay (Doc. 956)

specifically referenced the factory receivables as a part of its Collateral for which it was seeking

relief from the stay to pursue. An order lifting the stay was entered for GM Financial (Doc.

1035) on February 25, 2019.

         7.        GM Financial believes that Debtor pledged its accounts receivable to GM

Financial through its Master Loan Agreement dated January 23, 2018, (perfected by filing a

UCC-1 financing statement on January 17, 2018 as File Number: 18-0001917835 with the Texas




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Secretary of State, State of Texas) and by virtue of a Notice of Joint Assignment dated the same

date, specifically pledging all factory receivables from GM LLC to GM Financial.

         8.        Debtor, GM LLC, and GM Financial have reached an agreement on certain terms

and propose to enter into the following stipulation;

                   a.        Debtor is obligated to GM LLC in the amount of $58,094.03 arising from
                             audits at the Debtor’s dealership;

                   b.        GM LLC is obligated to Debtor in the amount of $704,862.31, arising
                             from dealer incentives owed to Debtor;

                   c.        Debtor is obligated to GM Financial in an amount far in excess of the
                             amounts due from GM LLC to the Debtor;

                   d.        Unless Debtor files a formal challenge within ten (10) days of filing this
                             Joint Motion, Debtor agrees GM Financial has a properly perfected, first
                             priority security interest in and over the net amount due by GM LLC to
                             Debtor;

                   e.        The Parties permit GM LLC to pay GM Financial the sum of
                             $646,768.28; and,

                   f.        Debtor, reserves its rights to attempt to surcharge GM Financial, and to
                             assert any relevant Chapter 5 claims not inconsistent with this stipulation.

         WHEREFORE, PREMISES CONSIDERED, General Motors, LLC, AmeriCredit

Financial Services, Inc. d/b/a GM Financial, and Reagor-Dykes Snyder, L.P. respectfully request

that the Court (i) approve the foregoing stipulation and enter an order substantially in the form as

the Proposed Order, included as Exhibit A, and (ii) grant such other and further relief as may be

just and proper.



                                            [Signatures to Follow]




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Dated: October 1, 2019                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

      I hereby certify that true and correct copy of the foregoing document was filed with the
Bankruptcy Court via CM/ECF on October 1, 2019, and served on all parties on the attached list
via ECF, email, fax, and/or U.S. Mail, postage prepaid.

                                           /s/ Jane A. Gerber
                                       Jane A. Gerber




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